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                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF VIRGINIA
                                       Charlottesville Division

   ELIZABETH SINES, ET AL.,                         │
                                                    │
                   Plaintiffs,                      │
                                                    │
           v.                                       │ Civil Action No. 3:17-cv-00072
                                                    │
   JASON KESSLER, ET AL.,                           │
                                                    │
                   Defendants.                      │
                                                    │

    DEFENDANTS LEAGUE OF THE SOUTH, MICHAEL HILL, & MICHAEL TUBBS’S
                     FIRST AMENDED WITNESS LIST

           COME NOW Defendants League of the South, Michael Hill, and Michael Tubbs, by and

   through Counsel, and state that they may call any or all of the following witnesses:

       1. Any witness on plaintiffs’ or any co-defendant’s witness list that has not been otherwise

           objected to by defense counsel.

       2. Any witnesses necessary for rebuttal or impeachment purposes.

       3. Any party to this lawsuit

       4. Charlottesville Police Officer Sgt. Newberry

       5. Harold Crews

       6. Richard Hamblen

           Defendants reserve the right to amend this list in light of new information developed

   before or during trial.

                                                         Respectfully submitted,

                                                         /s/ Bryan J. Jones____
                                                         Bryan J. Jones (VSB #87675)
                                                         106 W. South St., Ste. 211
                                                         Charlottesville, VA 22902


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                                                       Counsel for Defendants Michael Hill,
                                                       Michael Tubbs, and League of the South

                                  CERTIFICATE OF SERVICE

           I certify the above was served on September 17, 2021 on all ECF participants and that
   parties requiring service by other means were served as follows:

   Elliott Kline a/k/a Eli Mosley: eli.f.mosley@gmail.com & deplorabletruth@gmail.com
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                                                       /s/ Bryan J. Jones____
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                                                       Counsel for Defendants Michael Hill,
                                                       Michael Tubbs, and League of the South




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